Case 18-54590-jwc           Doc 35       Filed 10/10/19 Entered 10/10/19 13:52:19      Desc Main
                                         Document      Page 1 of 6


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 ADDISON, TX 75001
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 Attorney for BANK OF AMERICA, N.A.


                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION


 IN RE:                                                § CASE NO. 18-54590-JWC
                                                       §
 VINSON GWINN,                                         §
    Debtor                                             § CHAPTER 13
                                                       §
 BANK OF AMERICA, N.A.,                                §
    Movant                                             § CONTESTED MATTER
                                                       §
 v.                                                    §
                                                       §
 VINSON GWINN; NANCY J.                                §
 WHALEY, Trustee                                       §
    Respondents                                        §


 MOTION OF BANK OF AMERICA, N.A. FOR RELIEF FROM STAY OF ACTION
 AGAINST DEBTOR PURSUANT TO 11 U.S.C. § 362(a) AND WAIVER OF THIRTY
              DAY REQUIREMENT PURSUANT TO § 362(e)

  TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW BANK OF AMERICA, N.A., Movant, by and through the undersigned

  attorney, and moves the Court as follows:

       1.        This Motion is brought pursuant to 11 U.S.C. §362(d) in accordance with Rule

 4001 of the Bankruptcy Rules.

       2.        On or about March 16, 2018, VINSON GWINN (hereinafter "Debtor") filed a

 petition for an order of relief under Chapter 13 of the Bankruptcy Code.

       3.        At the time of filing the Chapter 13 petition, Movant held a Note executed on


 bkgabk_MFR.rpt-17/MFR/DEBTOR/Northern/Atlanta/00000008658700                              Page 1 of 6
Case 18-54590-jwc           Doc 35       Filed 10/10/19 Entered 10/10/19 13:52:19      Desc Main
                                         Document      Page 2 of 6


 August 20, 2008, by VINSON B GWINN in the original amount of FIFTY-NINE

 THOUSAND SEVENTY-THREE DOLLARS AND ZERO CENTS ($59,073.00) with interest

 thereon at the rate of 4.250% per annum, as modified by loan modification dated August 01,

 2012. A true and correct copy of the Note is attached hereto as Exhibit "A".

       4.        The indebtedness is secured by a Security Deed dated August 20, 2008 and

 executed by VINSON B GWINN on real estate with all improvements known as:

        ALL THAT TRACT OR PARCEL OF LAND LYING AND BEING IN LAND
        LOT 220 OF THE 14TH DISTRICT OF FULTON COUNTY, GEORGIA, AND
        BEING MORE PARTICULARLY DESCRIBED AS FOLLOWS:

        BEGINNING AT A POINT ON THE NORTHEASTERLY SIDE OF BEN HILL
        ROAD 1885.2 FEET SOUTHERLY AND SOUTHEASTERLY AS MEASURED
        ALONG THE EASTERLY AND NORTHEASTERLY SIDE OF BEN HILL
        ROAD FROM THE POINT OF INTERSECTION OF THE EASTERLY SIDE
        OF BEN HILL ROAD AND NORTH LINE OF LAND LOT 220, A SAID
        POINT OF BEGINNING ALSO BEING THE SOUTHEASTERLY LINE OF
        PROPERTY NOW OR FORMERLY OWNED BY JACQUES UPSHAW,
        THENCE RUNNING SOUTHEASTERLY ALONG THE NORTHEASTERLY
        SIDE OF BEN HILL ROAD 172.15 FEET TO AN IRON PIN AT THE
        NORTHWESTERLY LINE OF PROPERTY NOW OR FORMERLY OWNED
        BY B.N. TUCKER REALTY CO.; THENCE NORTHEASTERLY ALONG THE
        NORTHWESTERLY LINE OF SAID TUCKER PROPERTY 270.4 FEET TO
        AN IRON PIN; THENCE NORTHERLY 236.4 FEET TO AN IRON PIN AT
        THE SOUTHEASTERLY LINE OF THE ABOVE MENTIONED UPSHAW
        PROPERTY, SAID POINT ALSO BEING 1384.2 FEET SOUTHEASTERLY
        FROM THE NORTH LINE OF LAND LOT 220; THENCE SOUTHWESTERLY
        ALONG THE SOUTHEASTERLY LINE OF SAID UPSHAW PROPERTY 352
        FEET TO THE NORTHEASTERLY SIDE OF BEN HILL ROAD AND THE
        POINT OF BEGINNING.

        MORE COMMONLY KNOWN AS: 2795 BEN HILL ROAD, EAST POINT,
        GA 30344

 A true and correct copy of the Security Deed is attached hereto as Exhibit "B".

        5.       Debtor failed to maintain current the post-petition payments due under the Note

 and as of October 04, 2019, Debtor is in arrears for:




 bkgabk_MFR.rpt-17/MFR/DEBTOR/Northern/Atlanta/00000008658700                              Page 2 of 6
Case 18-54590-jwc           Doc 35       Filed 10/10/19 Entered 10/10/19 13:52:19          Desc Main
                                         Document      Page 3 of 6


                 3 payment(s) which represents payment(s) for August 01, 2019 through
                 October 01, 2019 ($622.49 each) totaling $1,867.47

                 Less debtor suspense funds of $0.00 for total post petition arrears of
                 $1,867.47

        6.       The outstanding indebtedness to Movant is $58,003.13 principal plus accrued

 interest, late charges, attorneys fees and costs as provided in the Note and Security Deed.

        7.       In accordance with the terms of the Note and Security Deed, Movant would

 allege that it is entitled to reasonable post-petition attorneys fees, including, but not limited to,

 fees, if any, for the preparation and filing of a proof of claim and fees and costs for the filing of

 this Motion for Relief from Stay.

       8.        Debtor has failed to provide adequate protection to Movant which constitutes

 cause to terminate the automatic stay of 11 U.S.C. §362(e).

        9.       By reason of the foregoing, Movant requests the Court to terminate the stay so

 Movant may proceed to foreclose in accordance with its Note and Security Deed.

       10.       Movant reserves the right to assert an 11 U.S.C. § 362(d)(2) Cause of Action, if

 appropriate, at the hearing on Movant's Motion for Relief.

        WHEREFORE, Movant prays that this Court enter an Order, after notice and hearing,

 terminating the automatic stay as to Movant and waives right to hearing within thirty (30) days

 as provided by 11 U.S.C. 362(e); alternatively Movant may be made whole by having all post

 petition payments, fees and costs brought current. Movant further prays that upon termination

 of the automatic stay, the pre-petition arrears shall no longer be funded under the Chapter 13

 Plan, the post petition payments shall no longer be required & 11 U.S.C. § 1322 (b)(5) shall no

 longer be applicable, therefore Movant and Trustee shall no longer be subject to the

 subsequent notice requirements of Federal Rule of Bankruptcy Procedure 3002.1 with regard

 to the above-described property and that the Court waive the provision of Rule 4001(a)(3) and

 bkgabk_MFR.rpt-17/MFR/DEBTOR/Northern/Atlanta/00000008658700                                  Page 3 of 6
Case 18-54590-jwc           Doc 35       Filed 10/10/19 Entered 10/10/19 13:52:19      Desc Main
                                         Document      Page 4 of 6


 that Movant be permitted to immediately enforce and implement any order granting relief from

 the automatic stay; that Movant be awarded its reasonable post-petition attorneys fees and

 expenses for this Motion; and, that Movant be granted such other and further relief as is just.




                                           Respectfully submitted,

                                           BARRETT DAFFIN FRAPPIER
                                           TURNER & ENGEL, LLP



                                     BY: /s/ BRANDI R. LESESNE                        10/10/2019
                                         BRANDI R. LESESNE
                                         GA NO. 141970
                                         4004 BELT LINE ROAD SUITE 100
                                         ADDISON , TX 75001
                                         Telephone: (972) 341-0500
                                         Facsimile: (972) 661-7725
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                                         ATTORNEY FOR MOVANT




 bkgabk_MFR.rpt-17/MFR/DEBTOR/Northern/Atlanta/00000008658700                              Page 4 of 6
Case 18-54590-jwc           Doc 35       Filed 10/10/19 Entered 10/10/19 13:52:19         Desc Main
                                         Document      Page 5 of 6




                                      CERTIFICATE OF SERVICE

        I hereby certify that on October 10, 2019, true and correct copy of the foregoing Notice of

Hearing and Motion for Relief from Stay as to Debtor was served via electronic means as listed

on the Court's ECF noticing system or by regular first class mail to the parties on the attached

list.




                                           Respectfully submitted,

                                           BARRETT DAFFIN FRAPPIER
                                           TURNER & ENGEL, LLP



                                           /s/ BRANDI R. LESESNE                           10/10/2019
                                           BRANDI R. LESESNE
                                           GA NO. 141970
                                           4004 BELT LINE ROAD SUITE 100
                                           ADDISON , TX 75001
                                           Telephone: (972) 341-0500
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 bkgabk_MFR.rpt-17/MFR/DEBTOR/Northern/Atlanta/00000008658700                                 Page 5 of 6
Case 18-54590-jwc           Doc 35       Filed 10/10/19 Entered 10/10/19 13:52:19   Desc Main
                                         Document      Page 6 of 6


 DEBTOR:
 VINSON GWINN
 2795 BEN HILL ROAD
 ATLANTA, GA 30344

 VINSON GWINN
 2795 BEN HILL ROAD
 EAST POINT, GA 30344

 TRUSTEE:
 NANCY J. WHALEY
 303 PEACHTREE CENTER AVENUE
 SUITE 120, SUNTRUST GARDEN PLAZA
 ATLANTA, GA 30303

 DEBTOR'S ATTORNEY:
 HOWARD P. SLOMKA
 SUITE 2100
 3350 RIVERWOOD PARKWAY
 ATLANTA, GA 30339

 PARTIES IN INTEREST:
 None

 PARTIES REQUESTING NOTICE:
 None




 bkgabk_MFR.rpt-17/MFR/DEBTOR/Northern/Atlanta/00000008658700                         Page 6 of 6
